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   Attorneys for Defendant Bradford
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                                   UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10
11 UNITED STATES OF AMERICA,             )
                                         )                 CASE NO. 2:19-CR-000222-KJD-BNW
12         Plaintiff,                    )
                                         )
13                 vs.                   )
                                         )
14   LANCE K. BRADFORD,                  )
                                         )
15         Defendant,                    )
     ____________________________________)
16
                 STIPULATION AND ORDER TO ALLOW DEFENDANT BRADFORD
17                         TO OBTAIN A PASSPORT AND TRAVEL
18          IT IS HEREBY STIPULATED and AGREED by and between the United States of America,
19 by and through NICHOLAS TRUTANICH, United States Attorney, and STEVEN W. MYHRE,
20 Assistant United States Attorney, and Defendant LANCE K. BRADFORD, by and through his
21 counsel, RUSSELL E. MARSH, ESQUIRE, that the conditions of Mr. Bradford’s Pretrial Release
22 be modified to allow him to obtain his passport and travel to Mexico for up to one week in late
23 October 2020.
24          1.      On September 3, 2019, Mr. Bradford appeared pursuant to a Summons, and was
25 released on a PR Bond. (ECF No.7). Mr. Bradford was ordered to surrender his passport and his
26 travel was restricted to the continental U.S. unless approved by Pretrial Services (Id. at 3).
27          2,      Mr. Bradford appeared for arraignment on a Superseding Indictment on September
28 9, 2010. (ECF No. 37.) Mr. Bradford’s trial in this matter is currently set for November 16, 2020
     (ECF No. 17), though the parties will be submitting a stipulation to continue the trial date to 2021.
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 1         3.      Mr. Bradford would like to travel to Mexico for business purposes during October

 2 2020. He currently plans to travel between October 21-28, 2020. He will need to retrieve his passport
 3 to travel out of the United States.
 4         4.      The parties agree that the conditions of Mr. Bradford’s pretrial release be modified

 5 to allow him to obtain his passport and travel. Mr. Bradford is currently scheduled to travel from
 6 October 21-28, 2020. Mr. Bradford requests access to his passport for those dates. He will return
 7 the passport to U.S. Pretrial Services when he returns to the United States.
 8         5.      Pretrial Services agrees with these changes in Mr. Bradford’s conditions of release.

 9 Mr. Bradford’s Pretrial Services Officer Jessie Moorehead has reviewed and does not oppose this
10 stipulation and Order. Pretrial Services approves the proposed travel.
11         6.      The parties agree that all other conditions of Mr. Bradford’s release will remain in

12 full force and effect.
13         Dated this 16th day of October, 2020.
14                                                       Respectfully submitted,
15 WRIGHT MARSH & LEVY                                   NICHOLAS TRUTANICH
                                                         UNITED STATES ATTORNEY
16
17 BY /s/ Russell E. Marsh                               BY /s/ Steven W. Myhre
     RUSSELL E. MARSH                                      STEVEN W. MYHRE
18   Attorneys for Defendant Bradford                      Assistant U.S. Attorney
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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3
     UNITED STATES OF AMERICA,           )
 4                                       )               CASE NO. 2:19-CR-000222-KJD-BNW
           Plaintiff,                    )
 5                                       )
                   vs.                   )
 6                                       )
     LANCE K. BRADFORD,                  )
 7                                       )
           Defendant,                    )
 8   ____________________________________)
 9
10                                              ORDER
11         Based on the Stipulation between the Defendant, Lance K. Bradford, and the Government,
12 through counsel, and good cause appearing,
13         IT IS HEREBY ORDERED that the conditions of Defendant Bradford’s pretrial release
14 be modified as follows:
15         1.     Mr. Bradford may travel to Mexico for up to one week in October 2020.
16         2.     Mr. Bradford will obtain his passport from U.S. Pretrial Services within one week
17         prior to his travel. U.S. Pretrial Services will provide the passport to him for the
18         purpose of this travel. Mr. Bradford will provide his passport to Pretrial Services within
19         two business days of his return to the United States.
20         3.     All other conditions of Pretrial Supervision remain in effect.
21         IT IS SO ORDERED.
22         Dated: October 16, 2020.
23
24
                                                 ELAYNA J. YOUCHAH
25                                               UNITED STATES MAGISTRATE JUDGE
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